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January 30, 2018
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rI`he Honorable Robert W. Lehrburger, M;j§\_m#& Q;CW §§ § see woman er by 1
United States District Court for the, "
Southern District ofNew York, SO ORDERED:
500 Pearl Street,

New Ym-k, NY 10007-1312. /Xd__,__s_,.» /A§:B;/é&§/Y

Re: Chen- Oster et al. v. Goldman Sac § 8§;&1£5 LEHF'B
110 10 Cw 6950 (AT) 111de §§ E§QS '“AG'SF‘ F‘ATE~'UDGE

 

Dear Judge Lehrburger:

On behalf of all parties, we Write in response to the Court’s January 23 Order
directing that “t11e parties are to meet and confer to discuss a schedule for class certification and
briefing,” With “Plaintiffs’ reply brief . . . due no later than December 3, 2018.” Tiie parties have
conferred and jointly propose the following schedule, which accords With the time limits set
forth in the Order:

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ijocument and data production completed March 30, 2018
Fact discovery completed March 30, 2018

' ' ` ' Expe_rt Disco_very`f ' " ' * ' .-
Plaintiff new/revised1epo1ts June 29, 2018
Depositions of Plaintiffs’ experts July 17, 2018
Defendant new/revised reports August l, 2018
Depositions ofDefendant experts August 15, 2018
Plaintiffs reply expert reports August 29, 2018

. - .- Briefing Schedu1e"` "

Plaintiff b11ef1n suppoit of class cert. Septe1nber 17, 2018
Defendant brief m opposition October 26, 2018
Plaintiff reply brief Novernber 16, 2018

 

 

 

The parties look forward to submitting their 60-day progress reports, as also
provided by the Court’s Order, on the following dates: March 24, 2018 (to be filed March 26,
2018); May 23, 2018;Ju1y 22 (1`11ed July 23); and September 20 (ifneeded).

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The Honorabfe Robert W. Lehrburger

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We thank the Court for its consideration

/S/Adam T. Klez`n

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Respectfully,

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